                                                                               Case 3:07-cv-05944-JST Document 4054 Filed 09/11/15 Page 1 of 2




                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER ADOPTING CERTAIN
                                                                         10   This Order Relates To:                  )   REPORTS AND RECOMMENDATIONS
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14         The Court has reviewed several Reports and Recommendations by
                                                                         15   Special Master Vaughn R. Walker, United States District Judge
                                                                         16   (Ret.) addressing the parties' discovery issues.           No objections
                                                                         17   have been filed, and the Court finds the reports uniformly correct,
                                                                         18   well-reasoned, and thorough.      Accordingly the Court ADOPTS in full
                                                                         19   the following reports and recommendations:
                                                                         20
                                                                         21     1. ECF No. 3859 regarding Direct Purchaser Plaintiffs' Motion to
                                                                         22         Compel Mitsubishi to Provide Testimony and Other Evidence from
                                                                         23         Mr. Koji Murata;
                                                                         24     2. ECF No. 3866 regarding Mitsubishi's Motion to Compel
                                                                         25         Viewsonic Percipient Witness Depositions and Coordination of
                                                                         26         Discovery;
                                                                         27   ///
                                                                         28   ///
                                                                              Case 3:07-cv-05944-JST Document 4054 Filed 09/11/15 Page 2 of 2




                                                                          1   3. ECF No. 3908 regarding Toshiba's Motion to Compel Discovery
                                                                          2      re Best Buy's Competitive Intelligence and Private Label
                                                                          3      Programs;
                                                                          4   4. ECF No. 3915 regarding Discovery Motions and Related Matters;
                                                                          5      and
                                                                          6   5. ECF No. 4015 regarding Coordination of Discovery Motions.
                                                                          7
                                                                          8      IT IS SO ORDERED.
                                                                          9
                                                                         10      Dated: September 11, 2015
                               For the Northern District of California
United States District Court




                                                                         11                                     UNITED STATES DISTRICT JUDGE
                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28



                                                                                                                  2
